                       Case 4:14-cr-00191-BSM                     Document 754           Filed 06/29/16          Page 1 of 6
AO 245B (Rev. 10/15) Judgment in a Criminal Case                                                                           FILED
                                                                                                                   EAST~·~N~STRICT COURT
                     Sheet 1
                                                                                                                               ISTRICJ Asf'l'B "I

                                                                                      JUN         '                 .
                                          UNITED STATES DISTRICT COURT .                  J9 2016
                                                                               JAMES W ~OWu.._fd<
                                                  Eastern District of Arkansas By:    ·~ Ct!L' CLERK
               UNITED STATES OF AMERICA                                    )
                                                                           )
                                                                                  JUDGMENT IN A CRIMINAL CASE                               DEP CLERK

                                  v.                                       )
                        JEREMY LEE PECK                                    )
                                                                           )      Case Number: 4:14CR00191-12 JLH
                                                                           )      USM Number: 28772-009
                                                                           )
                                                                           )       J. Brooks Wiggins
                                                                           )      Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)         Count 1 of Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
 21 U.S.C. §§ 846; and             Conspiracy to possess with intent to distribute and to                    9/30/2014

 841 (a)(1) and (b)(1 )(A)          distribute methamphetamine, a Class A felony



       The defendant is sentenced as provided in pages 2 through          __
                                                                           6 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      Count 25                              li2I is     Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 da)'s of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                          6/29/2016




                                                                          J. Leon Holmes, United States District Judge
                                                                         Name and Title of Judge


                                                                          6/29/2016
                                                                         Date
                        Case 4:14-cr-00191-BSM              Document 754            Filed 06/29/16          Page 2 of 6
AO 245B (Rev. 10/15) Judgment in Criminal Case
                       Sheet 2 - Imprisonment

                                                                                                    Judgment - Page ~2~- of   6
 DEFENDANT: JEREMY LEE PECK
 CASE NUMBER: 4:14CR00191-12 JLH

                                                          IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total tenn of:
  120 MONTHS




     Ill The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends the defendant participate in substance abuse treatment, and educational and vocational programs
  during incarceration.


     Ill The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D    at                                D a.m.      D p.m.       on

          D as notified by the United States Marshal.

    D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                       to

 a - - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                        By - - - - - - - - - - - - - - - - - - - - - -
                                                                                             DEPUTY UNITED STATES MARSHAL
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                             Judgment-Page       3   of         6
 DEFENDANT: JEREMY LEE PECK
 CASE NUMBER: 4:14CR00191-12 JLH
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 FIVE (5) YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ano at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any I?ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall J>ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observeo in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)       as directed by the propation officer, the 4e(endant shall notify.third parties ~frisks that may be occasion~d by ~he defendant's criminal
            record or ~ersonaI history or charactenstics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet JA - Supervised Release
                                                                                         Judgment-Page   4     of        6
DEFENDANT: JEREMY LEE PECK
CASE NUMBER: 4:14CR00191-12 JLH

                                      ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
 abstain from the use of alcohol throughout the course of treatment.
                        Case 4:14-cr-00191-BSM                   Document 754                Filed 06/29/16       Page 5 of 6
AO 245B (Rev. 10/15) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment - Page      5   of        6
 DEFENDANT: JEREMY LEE PECK
 CASE NUMBER: 4:14CR00191-12 JLH
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                                                             Restitution
 TOTALS             $    100.00                                         $                                  $



 D The detennination ofrestitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such detennination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless specified otherwise in
      the priori!)'. order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

   Name of Payee                                                              Total Loss*         Restitution Ordered Priority or Percentage




 TOTALS                                                                        $ _ _ _ _ _ _o_.o_o_


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the            D fine       D restitution.
       D the interest requirement for the           D   fine    D restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
 Septemoer 13, 1994, but before April 23, 1996.
                       Case 4:14-cr-00191-BSM
AO 245B (Rev. 10/15) Judgment in a Criminal Case
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        Sheet 6- Schedule of Payments

                                                                                                                 Judgment - Page              of
 DEFENDANT: JEREMY LEE PECK
 CASE NUMBER: 4:14CR00191-12 JLH

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     IZl   Lump sum payment of$ -100.00
                                    - - - - - - due immediately, balance due

             D    not later than                                      , or
             D    in accordance          D    C,     D    D,     D     E, or     D F below; or

 B     D     Payment to begin immediately (may be combined with                D C,        DD, or        D F below); or

C      D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D      D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E      D     Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monet?I)' penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through tlle Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
